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UNTPED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

NO. 15-00200 SECT.

ANTHONY C. PITRE
VERSUS

WARDEN SETH SMITH,
LY. KELLER &
CADET CHRISTOPHE

MOTION FOR LEAVE TO FILE SURREPLY OPPOSITION TO MOTION
FOR SUMMARY JUDGMENT FOR FAILURE TO EXHAUST TO
ADMINISTRATIVE REMEDIES

COMES NOW the plaintiff, Anthony C. Pitre, by and through his undersigned

counsel and respectfully shows and moves this honorable court as follows:
1.

Plaintiff desires to file a Surreply Opposition to respond to legal arguments
which were asserted in the defendant’s Reply Memorandum {Doc. 16] which were not
originally asserted in defendant’s Motion for Summary Judgment [Doc. 11].

2.
A copy of plaintiff's Surreply Opposition is attached hereto as Exhibit A.

WHEREFORE, the plaintiff prays for leave to file his Surreply Opposition.
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Respectfully submitted,

LECEOB EAL 6 Jlactrerw
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CERTIFICATE OF SERVICE

I certify that a copy of the foregoing pleading has been served upon
counsel for all parties by mailing the same to each, properly addressed and

postage prepaid on this x9 day of Seer , 2015.

Robert L. Marrero

